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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 07-20018-JWL
                                                  )
AHMAD AUSTIN,                                     )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       On February 2, 2009, Ahmad Austin pled guilty to conspiracy to distribute and

possess with intent to distribute more than five kilograms of cocaine and to manufacture,

distribute, and possess more than fifty grams of cocaine base (“crack”) (docs. 200, 201).

In the plea agreement, Mr. Austin waived “any right to challenge a sentence or otherwise

attempt to modify or change his sentence . . . [including] a motion brought under Title

18, U.S.C. § 3582(c)(2)” (doc. 201, at 8-9).

       The United States Probation Office prepared a presentence report (PSR),

explaining that Mr. Austin participated in a drug trafficking conspiracy between May and

July of 2005, during which the conspiracy was responsible for distributing at least one

kilogram of cocaine base each month. Based on that determination, Mr. Austin was

attributed with distribution of more than 1.5 kilograms but less than 4.5 kilograms of

cocaine base, the threshold quantities yielding base offense level 36 under the United
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States Sentencing Commission, Guidelines Manual (2009). The base offense level of

36, along with a 2-level reduction for acceptance of responsibility, yielded a total offense

level of 34. With a criminal history category of III, the PSR calculation subjected Mr.

Austin to an advisory guideline range of 188- to 235-months imprisonment. He received

a sentence of 168 months on May 18, 2009 (doc. 259).

       Mr. Austin has now filed a Motion for Retroactive Application of Sentencing

Guidelines pursuant to 18 U.S.C. § 3582(c)(2) (doc. 354). For the reasons set forth

below, that motion is denied.

                                       ANALYSIS

       Mr. Austin seeks a reduction in his sentence based on “the newly enacted statute

the Fair Sentencing Act 2010” (doc. 357, at 1).1 The Fair Sentencing Act (FSA)

amended various United States Code provisions with respect to crack cocaine violations,

raising the quantities of cocaine base required to trigger various statutory mandatory

minimum sentences from a 100:1 to an 18:1 “crack-to-powder” ratio. The FSA directed

the Sentencing Commission to amend the Sentencing Guidelines to conform with the

new law within 90 days of the FSA’s enactment.              In response, the Sentencing

Commission issued amended Guidelines based on the FSA’s new mandatory minimum

sentences. These amended Guidelines became retroactively effective on November 1,

2011. Mr. Austin, however, is ineligible for a sentence reduction based on the

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        Mr. Austin’s § 3582 motion is identical to that previously filed by his co-defendant
Shaune Frazier.

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amendment.2 Before addressing the merits of Mr. Austin’s eligibility, the court must

first resolve a procedural concern.

1. Waiver

       Mr. Austin signed a plea agreement that included a waiver of his right to seek a

sentence reduction under § 3582(c)(2). The government has not raised this waiver as a

bar to this court’s resolution of his § 3582 motion, however, and the court will not raise

the issue sua sponte. See United States v. Contreras-Ramos, 457 F.3d 1144, 1145 (10th

Cir. 2006) (“the waiver is waived when the government utterly neglects to invoke the

waiver”); United States v. Hahn, 359 F.3d 1315, 1328 (10th Cir. 2004) (the government

should file a motion to enforce plea agreement to enforce a waiver of rights contained

in the agreement); see also United States v. Callirgos-Navetta, 303 F. App’x 585, 587

n.2 (10th Cir. 2008) (declining to enforce waiver sua sponte).

       Therefore, the court may consider Mr. Austin’s motion without determining

whether it is barred by the post-conviction waiver contained in the plea agreement.

2. No Change in Applicable Guideline Range

       Section 3582 allows a court to modify a sentence “in the case of a defendant

who has been sentenced to a term of imprisonment based on a sentencing range that

has subsequently been lowered by the Sentencing Commission . . . consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

       2
        Mr. Austin seeks relief pursuant to the FSA, but the FSA was not made retroactive.
The defendant’s only basis for relief is the retroactive amendment to the Sentencing Guidelines.

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3582(c)(2). The policy statement to which § 3582(c) refers is § 1B1.10 of the United

States Sentencing Guidelines. Section 1B1.10 allows a court to reduce a term of

imprisonment under § 3582(c) provided that the guideline range applicable to the

defendant was subsequently lowered by one of the specific amendments to the

Guidelines listed in § 1B1.10(c). U.S.S.G. § 1B1.10(a)(1). Section 1B1.10(a)(2)(B)

provides that a reduction is not authorized if the retroactive amendments do not have

the effect of lowering the applicable guideline range.

       Here, the November 1, 2011 amendment to the sentencing guidelines does not

change the applicable guideline range. To clarify, the PSR attributed Mr. Austin with

distribution of more than 1.5 kilograms but less than 4.5 kilograms of cocaine base,

the threshold quantities yielding base offense level 36 at the time of Mr. Austin’s

sentencing. The factual portion of the PSR, however, specified that Mr. Austin

participated in a drug trafficking conspiracy between May and July of 2005, during

which the conspiracy was responsible for distributing at least one kilogram of cocaine

base each month. Mr. Austin did not object to the PSR. As such, he is accountable

for three kilograms of cocaine base, and meets the threshold quantity for base offense

level 36 under the amended guidelines. See U.S.S.G. § 2D1.1(c)(1) (Nov. 1, 2011).

       Thus, Mr. Austin’s applicable guideline range is unchanged, and he is

ineligible for § 3582 relief.




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      IT IS THEREFORE ORDERED BY THE COURT that defendant’s

Motion for Retroactive Application of Sentencing Guidelines (doc. 354) is denied.




      IT IS SO ORDERED this 9th day of March, 2012.


                                  s/ John W. Lungstrum
                                  John W. Lungstrum
                                  United States District Judge




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